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              " \0Xj1. a:0 ZeIHNL\ NL 96" ;%.7.O+M4                                                                    k;N <Z
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              " \0Xj1. a:0 ZeIHNL\ NL 96" ;%.7.O+M4                                                                    k;N <Z
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              ! Q0d0- ^90 [eHKNM[ eM0l0+ea0/ )0,'eZ0                                                                            NQ

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             #o 40Z 'Q1                         5Q ^Q'g0G 'L-                     5Q Z0Qi>+0] 5Q ' ^Na'G N2           


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